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                                   7                                UNITED STATES DISTRICT COURT

                                   8                               NORTHERN DISTRICT OF CALIFORNIA

                                   9
                                        UNITED STATES OF AMERICA,
                                  10                                                       Case No. 20-cr-00249-RS
                                                      Plaintiff,
                                  11
                                               v.                                          CIPA SCHEDULING ORDER
                                  12
Northern District of California
 United States District Court




                                        ROWLAND MARCUS ANDRADE,
                                  13
                                                      Defendant.
                                  14

                                  15          Having considered the United States’ Memorandum in Support of Proposed CIPA

                                  16   Scheduling Order and Defendant’s brief in response, the Court hereby ORDERS the following

                                  17   proposed CIPA briefing and hearing schedule:

                                  18          1. The government shall file its initial CIPA Section 4 filing no later than October 1, 2024.

                                  19          2. The Court will order a CIPA Section 4 hearing if necessary.

                                  20          3. CIPA Section 5 and Section 6(c) filings: To be decided only if necessary.

                                  21          4. IT IS HEREBY ORDERED that the above dates will be incorporated into the current

                                  22            trial scheduling order (Dkt. #313).

                                  23

                                  24   IT IS SO ORDERED.

                                  25

                                  26   Dated: August 30, 2024

                                  27                                                   ______________________________________
                                                                                       RICHARD SEEBORG
                                  28                                                   Chief United States District Judge
